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Exhibit A
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U.S. Department of Justice

 

The Special Counsel’s Office

Washington, D.C. 20530

 

April 3, 2018

By Email
Thomas Zehnle, Esq.

Law Offices of Kevin Downing
815 Connecticut Avenue, N.W.
Suite 730

Washington, D.C. 20006

(tezehnle@gmail.com)

Re: United States v. Paul J. Manafort, Jr.
Crim. No. 17-201 (ABJ)

Dear Mr. Zehnle:

The government responds to your March 27, 2018 request for materials
relating to Melissa Laurenza, namely: (a) any grand jury testimony by Ms.
Laurenza; (b) notes and memoranda of interviews following Chief Judge Howell’s
October 2, 2017 order addressing attorney-client privilege issues; and (c) all ex parte
submissions made by the Special Counsel’s Office in seeking to compel Ms.
Laurenza’s testimony or statements about privileged matters.

As we disclosed previously by telephone, Ms. Laurenza was interviewed twice
by the Special Counsel’s Office, but has never testified before the Grand Jury. We
do not intend to produce either memoranda or notes relating to those interviews as
part of discovery at this time and are not aware of any authority compelling such a
production. See Fed. R. Crim. P. 16(a)(2); United States v. Hsin- Yung, 97 F. Supp.
2d 24, 35 (D.D.C. 2000) (“[S]tatements by government witnesses which contain
statements made by a defendant are not discoverable under Rule 16, but are subject
to disclosure only under the Jencks Act.”). With respect to your third request, we
are attaching the relevant ex parte submissions (or materials not previously
available to the defendant) and transcripts identified below. Please note that these
attachments include several redactions intended to protect the identity of certain
sources of information. With respect to the September 20, 2017 transcript and the
redactions on page 25 through page 29, the government is not presently in
possession of an unredacted version of this transcript but we are seeking to obtain it
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and will notify you once we have done so. This production, and all others, are
covered by the Protective Order entered by the Court on November 15, 2017.

The following materials are attached:

   

 

 

 

A September 19, 2017 Letter from the SCO to Chief Judge Beryl A. Howell

B September 19, 2017 Transcript of Motion Hearing Before the Honorable
Beryl A. Howell, United States District Court Chief Judge

C September 20, 2017, Transcript of Motion Hearing Before the Honorable
Beryl A. Howell, United States District Court Chief Judge

D September 22, 2017 Declaration in Support of the Government’s Showing

of Crime Fraud by FBI Special Agent Brock W. Domin (with
attachments) and cover letter

E September 26, 2017 Transcript of Motion Hearing Including Sealed Ex
parte Discussion Before the Honorable Beryl A. Howell, United States
District Court Chief Judge

F September 27, 2017 Supplemental Declaration in Support of the
Government's Showing of Crime Fraud by FBI Special Agent Brock W.
Domin (with attachments) and cover letter

 

 

 

 

 

 

Please contact the undersigned with any questions you may have.
Very truly yours,

ROBERT 8S. MUELLER, II
Special Counsel

By: _/s/_ Greg Andres

Andrew Weissmann
(202) 514-1746

Greg D. Andres
(202) 514-0522

Enclosures
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U.S. Department of Justice

The Special Counsel’s Office

 

Washington, D.C. 20530

 

April 17, 2018

By Email
Thomas Zehnle, Esq.

Law Offices of Kevin Downing
815 Connecticut Avenue, N.W.
Suite 730

Washington, D.C. 20006

(tezehnle@gmail.com)

Re: United States v. Paul J. Manafort, Jr.
Crim. No. 17-201 (ABJ)

Dear Mr. Zehnle:

Attached as Exhibit A please find an unredacted copy of the September 20,
2017 hearing transcript relating to the government’s motion to compel the
testimony of Ms. Laurenza. Attached as Exhibit B, please find the government’s
motion to unseal the unredacted portion of the transcript and the Court’s Order
granting that motion, and please note that the transcript has not been unsealed as
to the public. The government provides the transcript pursuant to the Protective
Order entered by the Court on November 15, 2017. Please contact the undersigned
with any questions you may have.

Very truly yours,

ROBERT S. MUELLER, II
Special Counsel

By: _/s/ Greg Andres
Andrew Weissmann

(202) 514-1746

Greg D. Andres
(202) 514-0522
Enclosure
